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1 experts to decide. But I assume that -- that the | decisions, such as committing to, say, the Android
2 answer is yes. 2 platform, the considerations are very basic. They
3 MS, FEEMAN: Let's mark the report. So 3 go back probably thousands of years. Sales and
4 I'd like to mark as Exhibit 5139 the report of 4 profits, they have no change -- they don't change
5 Dr. Itamar Simonson. 5 from 2007 to 2010 to 2015. They just don't change.
6 (Exhibit 5139 was marked for identification by 6 They're all -- we are in business -- or companies
7 the court reporter and is attached hereto.) 7 are in business to make a profit. That's usually
8  Q. (By Ms. Feeman) And Dr. Simonson, could you 8 the primary goal.
9 please first take a look at Exhibit 5139 and confirm 9 Therefore, asking people about their
10 that this is the report that you submitted in this 10 motive today or in 2010, or in 2007, you will
11 matter. 11 expect to get the same results, more or less.
12 A. It appears to be. 12 If] may just complete my answer.
13. Q. Soifyou could please turn to 13. Q. I'm listening.
14 paragraph 14, which is on page 5 of Exhibit 5139. 14 A. Indeed, if you look at the provided
15 So the -- the pertinent issue that you 15 reasons of those 152 respondents across the years,
16 were trying to examine in this case or test, when 16 say, between 2007 and 2015, you don't find
17 you were doing your survey, is basically set forth 17 differences.
18 in paragraph 14, correct? 18 There are no more mentions of Java
19 A. Paragraph 10 and paragraph 14, yes. 19 between 2007 -- for those who started between 2007
20 Q. And in paragraph 14 you say that one of 20 and 2009, and those that started later. There are
21 the questions that's to be decided in this case -- 21 no more mentions of Java. It's -- it's quite
22 so the issue in this case -- is "to what extent 22 simple.
23 Google's decision to use the Java programming 23 So in that regard, given the nature of
24 language, and more specifically the structure," and 24 the decision, people will have a good memory for
25 "sequence, and organization and declaring code in 25 that. Moreover, the reasons are stable. If there
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1 37 Java API packages (‘the Accused APIs’) in 1 is any difference, is that the number of users or
2 Google's Android operating system drove (as Oracle 2 expected growth were even more important early on,
3 contends) the choices or decisions of application 3 because today there are I think 1.9 million
4 developers to develop Android applications, and 4 applications.
5 consequently, the success of Android in the 5 So let's say I want to introduce a new
6 marketplace." 6 calendar app for Android. I'm competing with -- I
7 Is that correct? 7 don't know -- how many other calendar apps. So
8 A. Right. 8 today demand is much more limited and I believe
9  Q. So that's the issue you were trying to 9 that most apps are unsuccessful.
10 explore? 10 Back then, the expectation that Android,
il A. Yeah, that would -- that's certainly a 11 supported by Google, will be successful, if
12 central part of it. 12 anything, if there was any difference, it was more
13. Q. Okay. And so by testing whether the 13 important.
14 operating system drove the developers’ choices and 14. Q. Are you done?
15 consequently the success of Android in the 15 A. I'm done.
16 marketplace, you need to be looking at the time 16 Q. So you came into this survey with the
17 Android was first released into the market, 17 preconceived notion that businesses make decisions
18 correct? 18 to make a profit and that’s it; isn't that correct?
19 MR. PURCELL: Object to the form. 19 MR. PURCELL: Object to the form.
20 THE DEPONENT: No. That's just part of 20 THE DEPONENT: No, I don't -- I'm not
21 it. 21 sure where you heard that. I said profit is an
22 Q. (By Ms. Feeman) But what is meant by "drove 22 important motive of businesses, in general.
23 the choices, and consequently, the success of Android 23 It's --
24 in the marketplace"? 24 Q. (ByMs. Feeman) In fact, for the last --
25 A. For decisions like that, high-involvement 25 MR. PURCELL: Wait, wait, wait, wait.
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1 biased methodology? 1 for breakfast. That's a question of fact.
2 <A. Yes, 2 In that case, I don't think it's leading.
3 Q. And another flaw that can impact the 3 You just retrieve your memory and you're thinking,
4 results of a survey is using leading questions that 4 did I have egg for breakfast. And if you did, you
5 suggest the correct answers? 5 say yes. If you didn't, you say no.
6 A. Correct. 6 If you want to ask a question about
7 Q. And another potential pension flaw is 7 judgment or about something you may do in the
8 using inappropriate controls? 8 future, I think it is good to not ask one-sided --
9 MR. PURCELL: Objection. 9 sided question. Although there might be some
10 THE DEPONENT: Where a control is needed,| 10 exceptions.
11 an inappropriate control can be a serious problem. tl Q. (By Ms. Feeman) So who -- who -- did you
12. Q. (ByMs. Feeman) What are some situations | 12 write the questions in your survey yourself?
13 where a control is needed? 13. A. Idid.
14 +A. One case is when you conduct an 14 Q. And -- and so all of the words, you came
15 experiment. So let's talk about -- let's come back 15 up with them yourself?
16 to the example that I used earlier. 16 A. Yes.
17 As I said, we are -- let's say we are 17 ~—-Q.:-So you'd agree that -- that it was your
18 interested in whether the words all natural cause 18 task in writing those questions to only ask
19 consumers to buy this juice or cereal. 19 questions that reasonable respondents can be
20 Then we need to control where we keep 20 expected to have reliable answers for, correct?
21 other things as similar as possible. We just 21 A. Yes.
22 eliminate the allegedly deceptive or problematic 22 Q. And that if you failed to ask the proper
23 element. In that case, the words all natural. 23 questions, most respondents will, nonetheless,
24 So -- but more generally, when you 24 still provide answers, but those answers would be
25 conduct an experiment and you manipulate an 25 meaningless?
Page 98 Page 100
1 independent variable, or more than one independent | 1 MR. PURCELL: Object to the form.
2 variable, you need control or controls. 2 THE DEPONENT: As I said, I had concerns
3 Another case is when you're using a 3 about question No. 8, and for reasons that I'm
4 leading close-ended question. For example, suppose | 4 happy to explain to you. That was the only
5 I were to show you a box of cereal that says all 5 question where I had concerns. I could actually
6 natural, and I asked you, based on what you see on 6 have conducted a survey without it, but I decided
7 this box, is this cereal all natural. That is a 7 to include question 8. That was the only one that
8 leading question. 8 raised any potential red flags.
9 And when you're using a leading 9  Q. (By Ms. Feeman) But as a general matter, you
10 close-ended question, you need to include -- I 10 would agree that if an expert fails to ask proper
11 mean, first, you shouldn't be asking leading 11 questions, most respondents will likely still provide
12 questions. 12 answers, but those answers will be meaningless and
13 But putting that aside, if you do ask 13 unreliable?
14 closed-ended question, especially a leading one, 14 _—~ A.‘ I think, in many cases, that is correct.
15 you should include a control. 15 Q. And you do understand that, generally,
16 If, on the other hand, you're using 16 two-sided questions should be used in surveys,
17 open-ended questions, like most of the questions in | 17 correct?
18 this survey, where you're not suggesting any 18 MR. PURCELL: Object to the form.
19 answers, then a control is not needed. 19 THE DEPONENT: Well, in numerous academic
20 Q. So would -- would you agree that -- that 20 surveys I don't ask two-sided questions. As I said
21 one-sided questions can be leading? 21 earlier, if I ask a question of fact, such as, did
22 MR. PURCELL: Object to the form. 22 you have to learn Objective-C to develop
23 THE DEPONENT: Well, it's -- it's -- it's 23 applications -- you know, iOS applications, you
24 too broad the way you asked the question. 24 don't need a two-sided question.
25 Let's say I asked you, did you have egg 25 On the other hand, if you ask something

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I think a shifted a couple of words.
But if you look at the -- at the answers
and explanations in -- and that's one thing I do
agree with Dr. Toubia, is that you see that there
are quite a few of them who still thought that I'm
asking about their ability to develop applications.
MS, FEEMAN: Are you guys ready to break
for lunch?
MR. PURCELL: Sure.
THE VIDEOGRAPHER: Going off the record
The time is 12:13 p.m.
(Recess taken.)
THE VIDEOGRAPHER: Back on the record.
The time is 1:11 p.m.
Q. (By Ms. Feeman) Good afternoon.
A. Good afternoon.
Q. So would you agree, Dr. Simonson, that
different people will recall, say, with different
levels of precision?
MR. PURCELL: Object to the form.
THE DEPONENT: I mean, such a generic way
of asking. It might be slight differences, yes.
Q. (By Ms. Feeman) And that -- well, that some
people might recall in more detail and other people

might recall in more general level.
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whatever they wanted to say, so -- I mean,
different -- different people say different things
and choose different words.

I'm not sure I would classify it based on
granularity.

Q. (By Ms. Feeman) So did you try to do
anything to account, in your study, for the different
ways that different people recall events?

MR. PURCELL: Object to the form.

THE DEPONENT: I said -- as I indicated
earlier, here we're asking about a major decision
to embark on a new platform. That's what we call a
high involvement decision and people tend -- tend
to have a very good memory for that, for their
considerations,

Q. (By Ms. Feeman) Okay. But my question was,
did you do anything to account for the different ways
that different people might recall?

A. I'm not sure I understand the question.

What do you mean by different ways of --
in which people may recall?

Q. So do you agree that the time frame in
which people may have made a decision to select a
new platform may have differed?

MR. PURCELL: Object to the form --
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Is that one way it might change?

MR. PURCELL: Object to the form.

THE DEPONENT: You know, it's not a --
it's hard for me to answer this question because
it's so vague and broad. Maybe you could refine
it.

Q. (By Ms. Feeman) Sure.

When you reviewed the results of your
survey, did you find that some people tended to
answer questions at a sort of granular level and
people tended to answer the questions at sort of a
higher level?

Did you see that?

A. I mean, people obviously use it -- use
different words. But aside from that, I didn't
notice any differences in level or granularity. I
mean, different people have different ways of
answering questions.

Q. So then you don't recall like some people
answering on a real granular level, such as there
was one person that -- that said she developed apps
because of Obamacare, which is a very granular
level, correct?

MR. PURCELL: Object to the form.

THE DEPONENT: She said -- he or she said

 

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Q. (By Ms. Feeman) -- in your survey?

A. I still don't understand the question.

What -- what time frame are you referring
to?

Q. You had asked individuals questions about
when they first developed apps for, say, an Android
platform, correct?

A. Right.

Q. And you also asked them when they first
decided to develop apps for some other platform,
correct?

A. Right.

Q. Do you recall those?

Do you agree that some of the people --
the answers to those questions were different.
Some people started to develop apps further back,
maybe even nine years ago. Some people started to
develop apps as recently as a year ago, correct?

A. That's correct, yes.

Q. Did you do anything to account for those
reasons, the issues?

A. There -- there was no need to -- to do
anything, so I didn't do that. As I said, these
are very important decisions that people tend to

have very good memory for, whether it was eight
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1 years ago or a year ago. 1 learned in the class?
2  Q. And did you actually interview people to 2 A. Well, hopefully, they learned the general
3 discuss how important a decision this was to them? 3 principles which they could apply. It's not --
4 Have you ever talked to an app developer? 4 you know, at that level, it's not something where
5 A. Yes,1--I talked to app developers. 5 you've just memorized some things and -- and then
6 People that I know personally. 6 you repeat them, or you're tested about them in the
7 Q. And you've talked to them about their 7 exam just to see if you memorized the textbook or
8 decision to develop applications for a particular 8 whatever.
9 platform? 9 Q. Soin-- in your survey in this case, one
10 A. No, I don't recall that conversation. 10 of the things that you were trying to do was to --
11 But I think this is a major business decision. As 11 to test whether, for example, business concerns,
12 I said, I've studied and I've taught business 12 money concerns, caused developers to choose to
13 marketing and high-tech marketing. I know what 13 develop on a platform; is that correct?
14 these people generally regard as important 14 +A. Business concerns?
15 decisions or not important decisions. 1S Q. Yes.
16 Q. So you've taught a class about 16 A. What do you mean by that?
17 marketing -- about app developer marketing? 17. Q. Okay. One of the things that you were
18 A. Idon'tremember. I might have talked 18 trying to test in this case was whether the number
19 about app developments, but it's -- there are 19 of users or devices that were being used by a
20 general principles that apply to app development, 20 platform would cause developers to choose to
21 as they apply to numerous other decisions. So 21 develop for that platform; is that correct?
22 you're looking for principles and that's -- these 22 A. Yes, using open-ended question. Yes.
23 general principles are what you teach your 23 Q. Okay. And -- and another thing that you
24 students. 24 were trying to test was whether a given programming
25 Q. So when you teach your students, you give | 25 language and familiarity with that programming
Page 126 Page 128
1 them exams? 1 language would cause developers to choose to
2 A. No. 2 develop for a platform, correct?
3. Q. No. 3 A. Yes.
4 A. I mean, it depends. I mean, in the -- 4 QQ. So when you first set out to conduct this
5 when I was teaching the core marketing class, which | 5 study, how did you define the universe of
6 is the introductory marketing class, we did give 6 developers that you were trying to -- to sample?
7 them an exam. 7 A. People who -- or firms -- that develop
8 Q. When's the last time you taught that 8 mobile applications.
9 class? 9  Q. So did you have any more details in
10 A. Ten years ago. 10 your -- your universe other than that?
11 Q. And do you ever notice that your il A. No.
12 students, when they took those exams, recalled 12. Q. And did you actually define that universe
13 materials with a different level of precision? 13 somewhere in your report?
14 A. No. 14 A. Imean, I describe them -- that's -- if
15 MR. PURCELL: Object to the form. 15 you look at the screening criteria, the questions
16 THE DEPONENT: The exam was a particular] 16 we talked about, that defines the universe.
17 case study. So they are given -- they had a total 17 Q. And can you point -- point me to that,
18 of, say, four hours. They were given a case study. 18 please.
19 They were reading and analyzing that case study, 19 A. Sure.
20 say, for an hour and a half. And then they 20 I mean, that's -- if you -- you can look
21 answered, say, three, four questions about that 21 at the tables. You can look at questions QA2,
22 case study. And they had the case study in front 22 going all the way to -- to QAS.
23 of them. There was no issue of recall. 23. Q. Okay. So -- so do I take it that -- that
24 Q. (By Ms. Feeman) So they didn't need to -- in | 24 there's not a description set forth in the body of
25 order to do the case study, to recall what they had 25 your report, it's by looking at the questions that

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1 of nonresponse, to analyze the differences between 1 that, but...
2 people that answered and people that did not answer?| 2 So tell me, do you know how many apps
3 A. No. If-- as I said earlier, if there's 3 were being developed in 2007 for Android?
4 any particular reason why those people who answered 4 A. Ido know that. Not -- not -- not that
5 would be different with respect to the question at 5 many, in fact.
6 issue then, yes, that's maybe something you should 6 QQ. And how about iPhone, in 2007, how many
7 look into. Even though, I must say, in the 7 apps were being developed for iPhone?
8 overwhelming majority, almost all litigation 8 A. Many more. I --I don't -- I do
9 surveys, it's not done. It's just not done. 9 remember, if -- if I'm not wrong, at the beginning
10 It's -- and I think there's some research showing 10 of 2009 -- I could be wrong. There are only 2300
11 that, in most cases, it's not a significant problem 11 apps. By the end of -- by -- by December of 2009,
12 or -- and it cannot be done. 12 there are 1600 -- 16,000 apps compared to something
13 But in this case, I don't -- I don't -- I 13 like 120,000 apps for iPhone. A big difference.
14 didn't hear any theory as to why it would make a 14 I know that iPhone started earlier. But,
15 difference, and it was just impractical. 15 in general -- and also, if you look at articles on
16 Q. So what about -- looking at the 16 the subject, Android started rather slowly,
17 difference between people that said they made the 17 which -- which, to me, I'm not -- that's not --
18 decisions on their own versus people that said they | 18 I -- I -- my role was to conduct the survey.
19 made their decisions in a group -- 19 But if Java were so important, despite
20 A, IT- 20 the results of the survey, you would have expected
21 Q. -- did you try to see whether that made a 21 right away a big jump in number of Android apps.
22 difference? 22 That did not happen. Only after the number of
23. +A. I think at some point I looked and didn't 23 users increased, there you saw the number of apps
24 see significant differences. 24 follow the number of users.
25 Q. What about the difference in the -- the 25 Q. So the article that -- that you
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1 timing? So the people who said they started 1 mentioned, is that identified in your list of
2 developing apps long ago versus people who 2 materials considered?
3 developed recently, did you try to do any analysis 3 A. No, I just read it, I think, yesterday or
4 to see whether that -- there was differences based 4 the day before yesterday. I think it was maybe a
5 on those people? 5 TechCrunch article.
6 A. I did, in fact. I -- 1 -- in particular, 6 Q. So what about today, do you know how --
7 I was interested to see whether mentions of Java 7 how many apps are being developed for Android
8 were more common among those who started earlier, 8 today?
9 and I found the answer is no. There is no -- 9 A. I know that, in total, there are
10 absolutely no correlation, which J think is -- is 10 1.9 million.
11 quite informative in this case, because if someone 11 Q. So you'd agree that Android plat- --
12 who started developing 2014 says Java was a factor, 12 platform is far more popular today than it was in
13 and someone in 2014 or 2013 is less likely to say 13 2007?
14 that as someone who started in 2009, I think 14 A. Without a doubt.
15 that's -- that's relevant. 15. Q. So do you remember what mobile phones
16 QQ. And it could also be an effect of -- of 16 were like in 2007?
17 recency, correct? 17 A. Kind of.
18 MR. PURCELL: Object to the form. 18 Q. And do you have any thoughts on how they
19 THE DEPONENT: No. It's -- I think I 19 compare to phones today?
20 already -- we already talked about that. To the 20 A. In what -- in what terms do you want me
21 extent that familiarity with Java was a factor 21 to compare them?
22 worth mentioning, it would have been mentioned. 22 Q. Well, they were very different. Do you
23 This is a high-involvement important decision that 23 agree to that?
24 people have very good memory for. 24 A. They are different. I mean, obviously,
25 Q. (By Ms. Feeman) I know you have a mantra on 25 the iPhone was a revolutionary phone. Iritroduced

 

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the smartphone concept. Subsequently, there's some
phones -- I think there was an HTC phone that --
that was not all that impressive initially for
Android, although I don't remember it in --
exactly. But at some point I think there -- there
was a Motorola Android phone and perhaps a Samsung
phone.
So I think that overall, despite the
promise of Google, if you look at the number of
apps, apparently application developers were not

for the changes in market share, when you designed
your survey?

A. No, not at all. It was irrelevant. The
question is what factors, in general, regardless of
time, influence their decisions to start writing or
developing apps for certain platform. And B, what
factors led to their decision to develop for
Android.

And there were additional -- there were
like this question where they rated the importance

 

 

11 all that impressed, otherwise you would see an 11 of each of six factors. I thought that was
12 immediate jump in the number of applications. That 12 informative question.
13 did not happen. 13 And on top of that, there was those --
14. Q._ So do you agree, though, that phones have 14 there were those behavioral measures. Did they
15 changed a lot between 2007 and today? 15 actually learn Objective-C for the purpose of
16 A. Sure. 16 writing for -- or writing iOS apps. Are they
17. Q. Do you know what the market share of 17 planning to learn Swift. These are actual
18 Android was when it launched? 18 behavioral measures, which I thought were quite
19 A. The day that it launched, it was probably 19 informative.
20 zero. You mean in terms of sales, when it just 20 Q. So it's your position that the
21 started, there were -- you know, there was no 21 decision-making process of app developers is
22 Android. I mean, obviously, you need some phones 22 constant, regardless of market context.
23 to -- that use Android to have market share. 23 Is that your position?
24  Q. Do you know what Android's market share 24 MR. PURCELL: Object to the form.
25 is in 2015 -- or was in 2015? 25 THE DEPONENT: The basic motives are
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1 A. You mean in terms of the number of 1 rather constant over time, yes. They want profit,
2 phones? 2 I think, is the -- is the most important. And
3 Q. Well, do you know market share, first of 3 there is a question, obviously, they -- they --
4 all? 4 they would -- they wouldn't spend infinite amount
5 A. For what? 5 of time to learn a new language.
6  Q. For the phones. 6 But what comes loud and clear out of the
7 A. For the phone. 7 survey is that, by far, the most important factor
8 It's the biggest, I think in terms, of 8 is sales and profit potential. If you look at
9 numbers. I don't know if in terms of value -- I -- 9 other studies of -- of application developers from
10 iPhone tends to be more expensive. But I think if 10 2010 and later, they reach the same conclusions.
11 you just go by units, I think Android is No. 1. il Q. (By Ms. Feeman) Let's -- let's try this
12 Q. Do you know what -- what iOS market 12 again. Simple question.
13 share is in 2015? 13 Is it your position that the
14 A. iOS? In terms of dollars or in terms 14 decision-making process of app developers is
15 of-- 15 constant, regardless of market context?
16 Q. In terms of phones. 16 MR. PURCELL: Object to the form.
17. _—OA«..:sSIn terms of units. 17 THE DEPONENT: I -- could you read my
18  Q. Number of phones, yeah. 18 answer? J -- I just gave you an answer. I said --
19 A. I don't remember the number. 19 I --
20  Q. Do you know whether the relative share of §20 Q. (By Ms, Feeman) Your answer started -- I car
21 Android and iOS remains stable between 2008 and | 21 read it. "The basic motives are constant over time."
22 2015? 22 I didn't ask you about time. I asked you about market
23 A. I think that -- if I'm not wrong, Android 23 context.
24 went up. 24 My question is, is it your position that
25 QQ. Sodid -- did you do anything to account 25 the decision-making process of app developers is
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